Case 2:14-cv-07491-PA-RZ Document 1-5 Filed 09/25/14 Page 1 of 7 Page ID #:276



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                                                              Complaint for Declaratory Relief
Case 2:14-cv-07491-PA-RZ Document 1-5 Filed 09/25/14 Page 2 of 7 Page ID #:277
Case 2:14-cv-07491-PA-RZ Document 1-5 Filed 09/25/14 Page 3 of 7 Page ID #:278
Case 2:14-cv-07491-PA-RZ Document 1-5 Filed 09/25/14 Page 4 of 7 Page ID #:279
Case 2:14-cv-07491-PA-RZ Document 1-5 Filed 09/25/14 Page 5 of 7 Page ID #:280
Case 2:14-cv-07491-PA-RZ Document 1-5 Filed 09/25/14 Page 6 of 7 Page ID #:281
Case 2:14-cv-07491-PA-RZ Document 1-5 Filed 09/25/14 Page 7 of 7 Page ID #:282
